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 7
                                   UNITED STATES DISTRICT COURT
 8
 9                                        DISTRICT OF NEVADA

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11
      UNITED STATES OF AMERICA,
12
                                                           Case No. 2:12-cr-00004-APG-GWF
                            Plaintiff,
13
             v.
14                                                         ORDER TO RELEASE ORIGINAL EXHIBITS
                                                           TO GOVERNMENT FOR PURPOSES OF
15                                                         TRIAL
      DAVID CAMEZ,
16                          Defendant.
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                   This matter comes before the Court on the Government’s motion to release original
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20 exhibits to the Government for purposes of trial. On December 6, 2013, defendant Camez was

21 convicted of Participating in a Racketeer Influenced Corrupt Organization in violation of Title 18,

22 United States Code, Section 1962(c) and Conspiracy to Engage in a Racketeer Influenced Corrupt

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     Organization in violation of Title 18, United States Code, Section 1962(d). On December 6, 2013,
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     the jury returned a verdict of guilty. Defendant Camez has not yet been sentenced by the Court.
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            On April 28, 2014, codefendant Frederick Thomas is set to stand trial on the same charges.
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     The Government has requested that original and physical exhibits be returned so that they may be
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 3 used in that trial. Defendant Camez does not object to this request.

 4
                                                  ORDER
 5
            IT IS THEREFORE ORDERED that all original and physical exhibits from the trial of
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 7 United States v. Camez, 2:12-CR-0004-APG-(GWF), be released to the Government for purposes of

 8 trial in United States v. Thomas, 2:12-CR-0004-APG-(GWF). At the conclusion of proceedings in
 9 United States v. Thomas, the exhibits shall be returned to the Clerk of Court.

10                                 15th day of April, 2014.
            IT IS SO ORDERED this ______
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                                                          ________________________________
12                                                        HON. ANDREW P. GORDON
                                                          UNITED STATES DISTRICT JUDGE
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